          Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



ROBERT L. GREENE,                                                   1:13-cv-11080-DJC
       Plaintiff,

v.

STEPHEN FABIANO and
THOMAS GRIFFIN,
       Defendants.


DEFENDANTS THOMAS GRIFFIN AND STEPHEN FABIANO’S MOTION IN LIMINE
    TO EXCLUDE EVIDENCE OF OFFICER FABIANO’S PRIOR USE OF HIS
          DEPARTMENT-ISSUED RADIO TO SUBDUE A SUSPECT

        This is an action against Boston Police Officers Stephen Fabiano and Thomas Griffin

(hereinafter “Defendant Officers”) under 42 U.S.C. § 1983, alleging violations of the Plaintiff’s

constitutional rights for claims of false arrest and excessive force, as well as common law claims

for intentional torts.

        The Defendant Officers respectfully request that this Honorable Court exclude any

testimony at trial relative to Officer Fabiano’s1 prior use of his Department-issued radio to

subdue a suspect. With respect to Plaintiff’s claim of excessive force, Officer Fabiano concedes

that he struck the Plaintiff in the head with his Department-issued radio but maintains that it was

unintentional—that he had intended to strike the Plaintiff’s flailing left hand and missed, striking

Plaintiff in the head instead.    During his deposition, Officer Fabiano testified that he had

previously used his Department-issued radio to subdue a gun-wielding suspect. It is anticipated


1
       The Defendants also move to exclude testimony by any police witness that the witness
previously used a police radio to subdue a witness on the grounds that such testimony would
consist of inadmissible propensity evidence and be unduly prejudicial and of absolutely no
probative value. Fed. R. Evid. 403.
                                                 1
          Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 2 of 8



that Plaintiff’s counsel will seek to elicit testimony from Officer Fabiano regarding this prior

incident to show that Officer Fabiano intentionally, rather than unintentionally, struck the

Plaintiff with his Department-radio.

       While the prior use of his Department-issued radio (and whether that previous use would

have constituted excessive force) may be admissible against the City of Boston, for purposes of

proving custom, policy or practice, for a Monell claim, there is no such Monell claim present.

Officer Fabiano’s prior use of his Department-issued radio is accordingly irrelevant to any issue

in the case, unduly prejudicial, without any probative value, would only serve to mislead the

jury, and as such, is inadmissible against Officer Fabiano at trial.

       As an initial matter, testimony regarding alleged prior acts is inadmissible to prove that

Officer Fabiano acted in conformity therewith.         Fed. R. Evid. 404(b).      Further, testimony

regarding Officer Fabiano’s previous use of his Department-issued radio to subdue a suspect is

not relevant to the issues in the case because the subjective intent of the officer is not relevant for

purposes of determining the reasonableness of the use of force under the Fourth Amendment.

Moreover, testimony regarding Officer Fabiano’s prior use of his Department-issued radio to

subdue a suspect would be substantially more prejudicial than probative. Fed. R. Evid. 403.

Therefore, any testimony relating to Officer Fabiano’s prior use of his Department-issued radio

to subdue a suspect should be excluded at trial.

                                           ARGUMENT

   A. Pursuant To Fed. R. Civ. P. 404(b) the Court Must Exclude Propensity Evidence.

   Evidence of Officer Fabiano’s prior use of his Department-issued radio is inadmissible

propensity evidence pursuant to Fed. R. Evid. 404(b). Rule 404(b) states, in pertinent part,

“Other crimes, wrongs or acts. Evidence of other crimes, wrongs or acts is not admissible to


                                                   2
          Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 3 of 8



prove the character of a person in order to show action in conformity therewith.” “Rule 404(b)

stands for the central principle that evidence of other acts is not admissible to show bad

character.” Bonilla v. Yamaha Motors Corp., 955 F.2d 150, 154-55 (1st Cir. 1992); United

States v. Espinal, 757 F.2d 423, 425 (1st Cir. 1985); Lataille v. Ponte, 754 F.2d 22, 25 (1st Cir.

1985); Fed. R. Evid. 404(b). “That is the plain meaning of Federal Rule of Evidence 404.”

Lataille, 754 F.2d at 35.

   Rule 404(b) provides a framework for determining whether evidence of other bad acts is

admissible. First, the court is to consider whether the proffered evidence “has some special

relevance which enables it to shed light on a disputed issue in the case, rather than merely to

show a defendant's deplorable character or propensity for wrongdoing.” Udemba v. Nicoli, 237

F.3d 8, 15 (1st Cir. 2001). The evidence, however, must not include bad character or propensity

as a necessary link in the inferential chain.” United States v. Varoudakis, 233 F.3d 113, 118 (1st

Cir. 2000) (internal quotation marks omitted).

   If the proffered evidence passes the “special relevance” screen, it must then be subjected to

the rigors of Rule 403.     Id.   “At that stage of the inquiry, the evidence, though relevant,

nonetheless may be excluded if its probative value is substantially overbalanced by other

considerations.” Udemba, 237 F.3d at 15. This rule reflects the judgment of the Advisory

Committee on the Federal Rule of Evidence that “[c]haracter evidence is of slight probative

value and may be very prejudicial. It tends to distract the trier of fact from the main question of

what actually happened on the particular occasion. It subtly permits the trier of fact to reward the

good man and to punish the bad man because of their respective characters despite what the

evidence in the case shows actually happened.” Lataille, 754 F.2d at 35.




                                                 3
         Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 4 of 8



   B. Officer Fabiano’s Prior Use Of His Department-Issued Radio Has No Special
      Relevance Because Officer Fabiano’s State of Mind Is Irrelevant for Purposes of the
      Fourth Amendment Reasonableness Inquiry.

       Here, the fact that Officer Fabiano previously used his Department-issued radio to subdue

a suspect has no special relevance. Plaintiff may argue that the prior radio strike is relevant to

rebuke Officer Fabiano’s testimony that he unintentionally struck the Plaintiff in the hand. But

that argument is misguided because Officer Fabiano’s subjective state of mind is irrelevant for

purposes of determining whether the use of force was reasonable. Whether an officer has used

excessive force is analyzed under a standard of objective reasonableness. Scott v. Harris, 550

U.S. 372, 381 (2007); Brower v. County of Inyo, 489 U.S. 593, 596 (1989); Alexis v. McDonald’s

Restaurants, 67 F.3d 341, 352 (1st Cir. 1995).

       Proper application of the test of “objective reasonableness” requires careful attention to

the facts and circumstances of the particular case at hand, including the severity of the crime,

whether the suspect posed an immediate threat to the safety of the officers or others, and whether

he was actively resisting arrest or attempting to evade arrest by flight. Graham v. Connor, 490

U.S. 386, 396 (1989). Not every push or shove amounts to a constitutional violation. By its

nature, police-work obliges officers to make split-second decisions about the amount of force

required to effect an arrest; all the while operating under tense, dangerous and rapidly-changing

circumstances. Id. at 393-94.

       In analyzing the reasonableness of the use of force, “[a]n officer’s evil intentions will not

make a Fourth Amendment violation of an objectively reasonable use of force; nor will an

officer’s good intentions make an objectively unreasonable use of force constitutional.” Id. at

397. “Our [Fourth Amendment] cases have repeatedly rejected a subjective approach, asking

only whether the circumstances, viewed objectively, justify the action.” Kentucky v. King, --


                                                 4
         Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 5 of 8



U.S. – 131 S. Ct. 1849, 1859 (2011) (internal quotation marks and citations omitted). Thus,

courts determine “whether the officers’ actions are ‘objectively reasonable’ in light of the facts

and circumstances confronting them, without regard to their underlying intent or motivation.”

Graham, 490 U.S. at 397; see also Bastien v. Goddard, 279 F.3d 10, 14 (1st Cir. 2002) (the

officer’s subjective intent or motivation is not relevant to the reasonableness inquiry under the

Fourth Amendment).

       Here, there is no dispute that Officer Fabiano struck the Plaintiff in the head with his

Department-issued radio. The dispute is whether the strike was intentional or unintentional. It is

anticipated that the Plaintiff will seek to admit Officer Fabiano’s prior use of his Department-

issued radio to subdue a suspect to show that Officer Fabiano intended to strike the Plaintiff in

the head with his radio this time. In other words, the Plaintiff seeks to use the prior incident to

show that Officer Fabiano was acting in conformity with his prior intent to strike a suspect on the

head with his radio and therefore, he must have done it intentionally this time, too. This would

amount to classic propensity evidence and it should be excluded.

       Further, and most importantly, Officer Fabiano’s subjective state of mind is not relevant

for purposes of the Fourth Amendment analysis. “The relevant inquiry is not whether [Officer

Fabiano] intended to injure the plaintiff, and thus whether it was an accidental or an intentional

[use of force]; the officer’s subjective intent is not the issue. Stamps v. Town of Framingham, 38

F.Supp.3d 146, 153 (D. Mass. 2014) (Saylor, J.). Instead, the relevant inquiry is “whether

[Officer Fabiano’s] conduct leading up to the radio strike was objectively reasonable under the

circumstances.” Id. In cases where the degree of force used by the officer was mistaken, courts

have held that the intentions of the officer are irrelevant. Brower v. County of Inyo, 489 U.S.

593, 596 (1989). Rather, the objective reasonableness of the officer’s actions are at issue. See


                                                5
         Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 6 of 8



Henry v. Purnell, 652 F.3d 524, 532 (4th Cir. 2011) (“it is not the honesty of [the officer’s]

intentions that determines the constitutionality of his conduct; rather it is the objective

reasonableness of his actions. It is certainly true that mistaken, but reasonable, decisions do not

transgress constitutional bounds.”). Thus, the only relevant inquiry on this topic is whether

Officer Fabiano’s actions leading up to the moment he struck the Plaintiff in the head were

reasonable. Stamps v. Town of Framingham, 38 F. Supp. 3d 146, 152-53 (D. Mass. 2014).

       Therefore, evidence that Officer Fabiano intentionally struck a suspect in the head with

his Department-issued radio on a prior occasion cannot be used to show “intent” or “absence of

mistake” pursuant to Rule 404(b) because Officer Fabiano’s state of mind is not relevant to the

Fourth Amendment reasonableness inquiry.

   C. Even if Officer Fabiano’s Subjective Intent Were Relevant To The Fourth
      Amendment Reasonableness Inquiry, the Introduction Of His Prior Use of His
      Department-Issued Radio Would Be Unfairly Prejudicial And Outweigh Any
      Probative Value Under a Rule 403 Balancing Test.

       Even if Officer Fabiano’s state of mind were relevant to the inquiry, the prejudicial effect

of Officer Fabiano’s prior use of his Department-issued radio to subdue a suspect would

substantially outweigh the probative value under the Rule 403 balancing test. U.S. v. Mateos-

Sanchez, 864 F.2d 232 (1st Cir. 1988).

       Prior bad act evidence that surmounts the bar of Rule 404(b) may still be
       inadmissible under Rule 403. This rule requires a trial court to exclude evidence if
       its probative value is substantially outweighed by the danger of unfair
       prejudice…. Otherwise relevant evidence may also be excluded if its probative
       value is substantially outweighed by confusion of the issues, or misleading of the
       jury, or by considerations of undue delay, waste of time, or needless presentation
       of cumulative evidence.

United States v. Varoudakis, 233 F.3d 113, 121 (1st Cir. 2000) citing Fed. R. Evid. 403.

“Usually, courts use the term “unfair prejudice” for evidence that invites the jury to render a

verdict on an improper emotional basis.” Id.

                                                6
          Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 7 of 8



       First, Officer Fabiano’s prior use of his Department-issued radio would mislead the jury

as to its significance because the prior incident did not result in a citizen complaint or discipline

by the Boston Police Department.          In fact, there has been no independent or judicial

determination as to whether the prior use of Officer Fabiano’s Department-issued radio to

subdue a gun-wielding suspect was reasonable under those particular circumstances.               See

Berkovich v. Hicks, 922 F.2d 1018, 1023 (2nd Cir. 1991) (where officer was exonerated in six of

seven civilian complaints, the probative value of introducing prior complaints was further

lessened, “tilting the scales further toward a finding of undue prejudice.”).

       Moreover, the introduction of this prior incident would create a mini trial within a trial

over whether Officer Fabiano’s prior use of his Department-issued radio (which involved a

struggle with an armed gunman) was reasonable under those circumstances.                    Without

establishing that Officer Fabiano’s past use of his Department-issued radio to subdue a suspect

was reasonable under the circumstances, the jury would be left to infer that Officer Fabiano used

excessive force on a prior occasion. This inference would unduly prejudice Officer Fabiano and

detract from the relevant issue of whether Officer Fabiano’s actions in attempting to seize the

plaintiff by means of his Department-issued radio were unreasonable under the circumstances.

       Introducing Officer Fabiano’s previous use of his Department-issued radio would only

serve as a veiled attempt to prove Officer Fabiano’s character through purported prior bad acts.

This is expressly prohibited by Rule 404(b). “Evidence of past misconduct cannot be introduced

to show the likelihood of such misconduct in the case at hand.” Lataille, 754 F.2d at 37. In this

case, evidence of the prior act and/or purported wrong of Officer Fabiano is inadmissible to

prove Officer Fabiano’s propensity to act in conformance with that conduct. Officer Fabiano’s

prior use of his Department-issued radio to subdue a gun wielding suspect has no relevance to


                                                 7
          Case 1:13-cv-11080-DJC Document 62 Filed 04/23/15 Page 8 of 8



this case and introduction of this evidence would cause juror confusion, undue distraction and

delay by causing a mini trial within a trial, and would unduly prejudice Officer Fabiano by

inviting the jury to find that he intentionally struck the plaintiff through evidence of prior acts.

                                          CONCLUSION

       WHEREFORE, Officers Fabiano and Griffin respectfully move this Honorable Court to

allow their motion in limine to exclude any evidence of Officer Fabiano’s prior use of his

Department-issued radio to subdue a suspect.

                                               Respectfully submitted,

                                               DEFENDANTS THOMAS GRIFFIN &
                                               STEPHEN FABIANO,

                                               By:

                                               Eugene L. O’Flaherty
                                               Corporation Counsel

                                               /s/ Amy Bratskeir
                                               Amy Bratskeir, BBO # 662034
                                               Assistants Corporation Counsel
                                               City of Boston Law Department
                                               Room 615, City Hall
                                               Boston, MA 02201
                                               (617) 635-4017
                                               Amy.Bratskeir@boston.gov

                                               Date: 4/23/15

                                       Certificate of Service

I certify that this document, filed through the ECF system on the date listed below, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and by
first class mail to any non-registered participants.

Date: 4/23/15                                          /s/ Amy Bratskeir
                                                       Amy Bratskeir




                                                   8
